Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 1 of 32 PageID #: 25




                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------x
 PleasrDAO, an exempted foundation company,                     :
                                                                :
                            Plaintiff,                          : Case No. 24-cv-04126
                                                                :
                                                                :
                                                                :
                            v.                                  :
                                                                :
 Martin Shkreli,                                                :
                                                                :
                                                                :
                            Defendant.                          :
 --------------------------------------------------------------x

  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF ITS APPLICATION FOR
   TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION, ORDER
    SEIZING ASSETS, AND ORDER FOR DISGORGEMENT AND ACCOUNTING
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 2 of 32 PageID #: 26




                                                      TABLE OF CONTENTS

                                                                                                                                              Page

 I.          INTRODUCTION .............................................................................................................. 1
 II.         STATEMENT OF FACTS ................................................................................................. 3
        A.        Wu-Tang Clan Records And Sells A Historically Unique Album To Shkreli ............. 3
        B.        Shkreli Is Convicted Of Securities Fraud And Ordered To Forfeit All Interest And
                  Rights To The Album ................................................................................................... 4
        C.        PleasrDAO Purchases The Album ................................................................................ 6
        D.        Shkreli Retains And Possibly Distributes The Album’s Data And Files In Violation
                  Of The Forfeiture Order ................................................................................................ 6
        E.        Shkreli Other Displays of Contempt for PleasrDAO, Wu-Tang, and The Judicial
                  System ........................................................................................................................... 8
 III.        ARGUMENT ...................................................................................................................... 9
        A.        The Court Should Issue A Temporary Restraining Order and Preliminary Injunction
                  To Preserve The Status Quo ....................................................................................... 10
             1.        PleasrDAO Is Substantially Likely To Succeed On The Merits Of Its Claims .... 11
             2.        PleasrDAO Will Suffer Irreparable Harm If Shkreli Is Not Immediately
                       Restrained ............................................................................................................. 18
             3.        The Balance Of Hardships Weighs Strongly In PleasrDAO’s Favor ................... 19
             4.        The Public Interest Supports An Injunction.......................................................... 20
             5.        No Security Bond is Necessary under Rule 65. .................................................... 21
        B.        An Inventory And Accounting Of The Copies Retained And The Individuals To
                  Whom Shkreli Distributed The Data And Files, And Any Attendant Profits, is
                  Necessary. ................................................................................................................... 21
        C.        Civil Seizure and Disgorgement Is Necessary To Prevent Shkreli From Further
                  Disseminating The Album’s Data And Files .............................................................. 22
             1.        The Court Has Authority To Order Seizure Under The DTSA ............................ 22
             2.        The Court Has Authority To Order Seizure Under FRCP 64 And The State Law
                       Doctrine Of Replevin ............................................................................................ 24
 IV.         CONCLUSION ................................................................................................................. 26




                                                                        -i-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 3 of 32 PageID #: 27




                                               TABLE OF AUTHORITIES

                                                                                                                             Page(s)

 Cases

 A.H. v. French,
    985 F.3d 165 (2d Cir. 2021).....................................................................................................10

 Aventri, Inc. v. Tenholder,
    No. 3:18-CV-02071 (KAD), 2018 U.S. Dist. LEXIS 212607 (D. Conn. Dec. 18, 2018) .......20

 BaseCap Analytics Inc. v. Amenn,
    No. 1:23-cv-09370-MKV, 2023 U.S. Dist. LEXIS 209808 (S.D.N.Y. Nov. 22, 2023) ..........20

 Benihana, Inc. v. Benihana of Tokyo, LLC,
    784 F.3d 887 (2d Cir. 2015).....................................................................................................10

 Better Holdco, Inc. v. Beeline Loans, Inc.,
     666 F. Supp. 3d 328 (S.D.N.Y. 2023)......................................................................................12

 Broker Genius, Inc. v. Zalta,
    280 F. Supp. 3d 495 (S.D.N.Y. 2017)......................................................................................11

 Carnegie E. House Hous. Dev. Fund Co., Inc. v. Interiors Grp. LLC,
    No. 23-cv-8384 (JSR), 2024 U.S. Dist. LEXIS 47655 (S.D.N.Y. Mar. 13, 2024) ..................17

 Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd.,
     598 F.3d 30 (2d Cir. 2010).......................................................................................................11

 Corsello v. Verizon N.Y., Inc.,
    18 N.Y.3d 777 (N.Y. 2012) .....................................................................................................17

 David Tunick, Inc. v. Kornfeld,
    838 F. Supp. 848 (S.D.N.Y. 1993) ..........................................................................................18

 DFO Glob. Performance Commerce Ltd. (Nev.) v. Nirmel,
   No. 20-CV-6093 (JPO), 2021 U.S. Dist. LEXIS 148009 (S.D.N.Y. Aug. 6, 2021)................12

 Doctor’s Assocs. v. Distajo,
    107 F.3d 126 (2d Cir. 1997).....................................................................................................21

 Doctor’s Assocs. v. Stuart,
    85 F.3d 975 (2d Cir. 1996).......................................................................................................21

 Dymax Corp. v. Kalach,
   No. 3:22-CV-00516 (KAD), 2022 U.S. Dist. LEXIS 65404 (D. Conn. Apr. 8, 2022) ...........20




                                                                 - ii -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 4 of 32 PageID #: 28




 EEOC v. Int'l Ass'n of Bridge, Structural & Ornamental Ironworkers, Local 580,
   139 F. Supp. 2d 512 (S.D.N.Y. 2001)......................................................................................11

 eShares, Inc. v. Talton,
    No. 22-CV-10987, 2024 U.S. Dist. LEXIS 59936 (S.D.N.Y. Mar. 29, 2024) ........................12

 Fairfield Cty. Med. Ass’n v. United Healthcare of New Eng.,
    985 F. Supp. 2d 262 (D. Conn. 2013), aff’d, 557 Fed. Appx. 53 (2d Cir. 2014) ....................10

 Faiveley Transp. Malmo AB v. Wabtec Corp.,
    559 F.3d 110 (2d Cir. 2009).....................................................................................................19

 Federal Trade Commission v. Vyera Pharmaceuticals, LLC,
    No. 20-cv-00706 (S.D.N.Y. Jan. 14, 2022), ECF No. 865 ........................................................9

 FMC Corp. v. Taiwan Tainan Giant Indus. Co.,
   730 F.2d 61 (2d Cir. 1984).......................................................................................................19

 Gucci Am. v. Bank of China,
    768 F.3d 122 (2d Cir. 2014).....................................................................................................21

 Hanyzkiewicz v. Allegiance Retail Servs.,
    LLC, No. 22-CV-4051 (ALC), 2023 U.S. Dist. LEXIS 58489 (S.D.N.Y. Mar. 31, 2023) .....11

 Integrated Cash Mgmt. Servs. v. Dig. Transactions, Inc.,
     920 F.2d 171 (2d Cir. 1990).....................................................................................................15

 Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc.,
    596 F.2d 70 (2d Cir. 1979).......................................................................................................18

 JBrick, LLC v. Chazak Kinder, Inc.,
    No. 21-CV-02883 (HG) (RLM), 2023 U.S. Dist. LEXIS 168647 (E.D.N.Y.
    Sep. 21, 2023) ..........................................................................................................................16

 Kaye v. Grossman,
    202 F.3d 611 (2d Cir. 2000).....................................................................................................17

 KCG Holdings, Inc. v. Khandekar,
   No. 17 Civ. 3533, 2020 U.S. Dist. LEXIS 44298, 2020 WL 1189302
   (S.D.N.Y. Mar. 12, 2020) ........................................................................................................19

 Keybanc Capital Mkts., Inc. v. Extreme Steel, Inc.,
    No. 23-cv-8535 (JSR), 2024 U.S. Dist. LEXIS 3047 (S.D.N.Y. Jan. 5, 2024) .......................17

 Kirch v. Liberty Media Corp.,
    449 F.3d 388 (2d Cir. 2006).....................................................................................................16




                                                                    - iii -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 5 of 32 PageID #: 29




 Lasky v. Quinlan,
    558 F.2d 1133 (2d Cir. 1977)...................................................................................................11

 Loandepot.Com, LLC v. Crosscountry Mortg., LLC,
    2022 U.S. Dist. LEXIS 167104 (S.D.N.Y. Sep. 15, 2022) ......................................................19

 Markovits v. Venture Info. Capital, Inc.,
   129 F. Supp. 2d 647 (S.D.N.Y. 2001)......................................................................................19

 Reuben H. Donnelley Corp. v. Mark I Mktg. Corp.,
    893 F. Supp. 285 (S.D.N.Y. 1995) ..........................................................................................10

 Reuters Ltd. v. United Press Int’l Inc.,
    903 F.2d 904 (2d Cir. 1990).....................................................................................................18

 Robins v. Zwirner,
    713 F. Supp. 2d 367 (S.D.N.Y. 2010)......................................................................................18

 Shamrock Power Sales, LLC v. Scherer,
    No. 12-CV-8959 (KMK) (JCM), 2016 U.S. Dist. LEXIS 144773 (S.D.N.Y.
    Oct. 18, 2016) ..........................................................................................................................21

 Southland Corp. v. Froelich,
    41 F. Supp. 2d 227 (E.D.N.Y. 1999) .......................................................................................24

 Tom Doherty Assocs., Inc v. Saban Entm’t, Inc.,
    60 F.3d 27 (2d Cir. 1995).........................................................................................................18

 Turret Labs USA, Inc. v. CargoSprint, LLC,
    No. 21-952, 2022 U.S. App. LEXIS 6070 (2d Cir. Mar. 9, 2022)...........................................13

 United Serv. Prot. Corp. v. Lowe,
    354 F. Supp. 2d 651 (S.D. W. Va. 2005) .................................................................................12

 United States Polo Ass'n v. PRL USA Holdings, Inc.,
    800 F. Supp. 2d 515 (S.D.N.Y. 2011)......................................................................................20

 United States v. Shkreli,
    No. 15-cr-00637 (E.D.N.Y. Dec. 14, 2015) ...................................................................4, 5, 6, 9

 Warner-Lambert Co. v. Northside Dev. Corp.,
   86 F.3d 3 (2d Cir. 1996)...........................................................................................................19

 Yang v. Kosinki,
    960 F.3d 119 (2d Cir. 2020).....................................................................................................10

 Statutes

 15 U.S.C. § 1116 ..............................................................................................................................1


                                                                     - iv -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 6 of 32 PageID #: 30




 18 U.S.C. § 1836(2) .........................................................................................................................1

 18 U.S.C. § 1836(3)(A)..................................................................................................................10

 18 U.S.C. § 1836(b)(1) ..................................................................................................................12

 18 U.S.C. § 1836(b)(2)(A)(i) .........................................................................................................22

 18 U.S.C. § 1836(b)(2)(A)(ii) ........................................................................................................23

 18 U.S.C. § 1839(3) .......................................................................................................................13

 18 U.S.C. § 1839(5)(B)(ii)(II)........................................................................................................13

 28 U.S.C. § 1651(a), (ii) ..................................................................................................................1

 Rules

 CPLR § 7102(d)(1) ........................................................................................................................25




                                                                    -v-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 7 of 32 PageID #: 31




        Plaintiff PleasrDAO (“PleasrDAO”) seeks entry of (i) a temporary restraining order and

 preliminary injunction pursuant to 15 U.S.C. § 1116, Federal Rule of Civil Procedure 65, and 28

 U.S.C. § 1651(a), (ii) an order of inventory and accounting pursuant to the Court’s equitable

 powers, and (iii) an order for the civil seizure of property necessary to prevent the propagation or

 dissemination of the trade secret, pursuant to 18 U.S.C. § 1836(2) and Federal Rule of Civil

 Procedure 64, and (iv) an award of damages, against Defendant Martin Shkreli (“Shkreli”).

                                    I.       INTRODUCTION
        This case involves more bad acts by Shkreli, an individual well-known to this Court, and

 in particular, his violations of his forfeiture order and misappropriation of trade secrets.

        Shkreli is the ex-pharmaceutical executive who famously increased the price of a life-

 saving drug by over five thousand percent and subsequently served seven years in prison after

 being convicted in this Court of securities fraud. Plaintiff PleasrDAO (“PleasrDAO”) is a

 collective of digital artists in the business of acquiring culturally significant pieces of art. On

 March 26, 2018, this Court entered a judgment adopting a Preliminary Order of Forfeiture which,

 among other things, ordered Shkreli to surrender “the album, ‘Once Upon a Time in Shaolin’ by

 the Wu-Tang Clan (the “Album”) to satisfy a judgment approximating $7.4 million. In 2021, the

 United States Marshals Service (“USMS”) sold the Album, and PleasrDAO is its present owner.

        The Album is novel and unique in that only one original exists. Wu-Tang conditioned the

 Album’s original sale to Shkreli on the agreement not to broadcast, copy or exploit the Album and

 its recordings, except under certain narrow circumstances. These restrictions ensured that any

 present and future purchaser would own not only Wu-Tang’s music, but also the exclusivity and

 privileges that come with being the only person who can listen to the Album at his or her leisure.

 In 2015, Shkreli purchased the Album for approximately $2,000,000. PleasrDAO acquired the

 Album in two transactions in 2021 and 2024, for approximately $4,000,000, and $750,000,

 respectively.

        PleasrDAO has recently learned from Shkreli’s own admissions that Shkreli unlawfully

 retained copies of the Album and intends to distribute them publicly. Such actions threaten to


                                                  -1-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 8 of 32 PageID #: 32




 greatly diminish or eliminate the Album’s value, which derives largely from restrictions

 surrounding the Album. Shkreli has bragged on social media, for example, that he retained “mp3”

 copies of the Album’s data and files and admitted to playing the files on live, virtual broadcasts.

 These statements have increased of late, including representations that he is willing to transfer the

 data and files to willing recipients.

         Demonstrating a malicious disregard for the Plaintiff’s rights, and his forfeiture order, on

 June 9, 2024, Shkreli apparently played music from the Album publicly, after expressing dismay

 that PleasrDAO had “blocked” him from its X account. Shkreli posted about a “Wu Tang official

 listening party,” on the social media platform, X (formerly Twitter). On May 14, 2024, Shkreli

 tagged PleasrDAO on his X account, posted a screenshot of PleasrDAO’s website stating that the

 album would not be released until 2103, and stated “look out for a torrent,” suggesting he would

 upload the files for public download. On April 13, 2024, Shkreli commented on a posting by one

 of PleasrDAO’s members on the social media platform “X” (formerly Twitter) regarding the

 Album by stating that “LOL i have the mp3s you moron[,]” “this thread is about someone listening

 to a CD > 5000 people have[,]” and “i can just upload the mp3s if you want?[,]” “just give me

 your email lol[.]”

         Shkreli’s admitted retention and contemplated distribution of the Album’s recordings, if
 true, violate the terms of the Court’s forfeiture order and the Defense of Trade Secrets Act, and

 constitutes a misappropriation of trade secrets, tortious interference with a prospective economic

 advantage, and unjust enrichment. PleasrDAO must ascertain the extent to which Shkreli took

 these acts; any further distributions will continue to diminish the value of the unique Album.

 PleasrDAO thus seeks (i) a temporary restraining order and preliminary injunction preventing

 further retention and/or distribution, (ii) an inventory and accounting of the copies retained and the

 individuals to whom Shkreli distributed the data and files, and any attendant profits, and (iii) an

 order for civil seizure, and (iv) monetary damages.




                                                 -2-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 9 of 32 PageID #: 33



                                  II.         STATEMENT OF FACTS

          A.       Wu-Tang Clan Records And Sells A Historically Unique Album To Shkreli
          Wu-Tang is one of the world’s most famous hip-hop groups and has been described by

 some critics as one of the greatest rap groups of all time. 1 From 2007 to 2013, Wu-Tang recorded

 the Album, a secret 31-track album featuring guest appearances from notable individuals such as

 musical artists Cher and Redman, celebrity actors, and professional athletes. Declaration of

 Matthew Matkov in Support of PleasrDAO’s Request for an Application for Temporary

 Restraining Order, Preliminary Injunction, Order Seizing Assets, and Order for Disgorgement and

 Accounting (“Matkov Decl.”) ¶ 4, Ex. A. According to the consortium that funded and coordinated

 the Album’s creation, the Album was a protest to what they saw as the devaluation of music in the

 digital era. Id. In this spirit, and unlike conventional commercial album releases, Wu-Tang never

 released the Album to the public. Instead, Wu-Tang produced only one copy of the Album.

          Consistent with their intent for the Album to be a historically unique musical compilation,

 Wu-Tang leader Robert “RZA” Diggs and producer Tarik “Cilvaringz” Azzougarh (together, the

 “Producers”) sold the Album adorned in an ornate, boxed set. Id. at Ex. A. The boxed set included

 (i) the only existing hard copy of the Album, burned onto a single two-disc set; (ii) a hand carved,

 nickel and silver cased box designed by the British Moroccan artist Yahya; (iii) a gold leafed

 certificate of authenticity; (iv) a pair of customized audio speakers; and (v) a 174-page leather-

 bound manuscript volume containing lyrics, credits and anecdotes on the production and

 recordings of each song. Id.; Matkov Decl. Ex. A.

          On September 3, 2015, the Producers sold the Album to Shkreli for a reported sum of

 $2,000,000. Id. ¶ 6. The sale reportedly made the Album the most expensive musical work ever

 sold, as certified by the Guinness Book of World Records. Matkov Decl. ¶ 7, Ex. C. The Producers

 and Shkreli executed a Purchase Agreement to effectuate the sale (the “Original Purchase

 Agreement”) imposing several restrictive covenants on Shkreli. See Matkov Decl. Ex. B. Among


 1
  See, e.g., Nefertiti Austin, et al., 50 Greatest Rap Groups of All Time, BILLBOARD (June 28, 2023),
 https://www.billboard.com/lists/best-rap-groups-hip-hop-all-time/2-wu-tang-clan/.


                                                         -3-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 10 of 32 PageID #: 34




 these covenants, the Original Purchase Agreement prohibited Shkreli, for eighty-eight years

 following the sale’s closing, from duplicating, replicating, or exploiting the Album for any reason

 other than for “exhibition or playing” of the Album in “spaces not customarily used as venues for

 large musical concerts,” or for advertising or promoting the same. Id. at 5-6. To the extent that

 Shkreli did exhibit or play the music and earned “net profits,” the Producers were entitled to a

 portion of the profits. Id. at 6.

         The Original Purchase Agreement also expressed Wu-Tang and the Producers’ intent to

 keep ownership of the Album in one person’s hands at time, as it prohibited Shkreli from selling

 the Album to third parties unless “under the same terms and conditions” imposed by the Original

 Purchase Agreement. Id. at 6. So to the extent Shkreli sold or transferred the Album, he promised

 to “bind” any third party buyer or transferee “by written agreement to the same rights, restrictions,

 and obligations on the use, sale, and transfer of the Work” as Shkreli was subject to in the Original

 Purchase Agreement. Id. at 9.

         B.      Shkreli Is Convicted Of Securities Fraud And Ordered To Forfeit All
                 Interest And Rights To The Album
         Just over two months after Shkreli purchased the Album, a grand jury in the United States

 District Court for the Eastern District of New York indicted him on two counts of conspiracy to

 commit securities fraud, two counts of conspiracy to commit wire fraud, two counts of securities

 fraud, and one count of wire fraud. Indictment at 19-27, United States v. Shkreli, No. 15-cr-00637

 (E.D.N.Y. Dec. 14, 2015), ECF No. 1. Shkreli’s social media posts and comments to the press

 about trial evidence and witnesses were the subject of several collateral disputes during the trial,

 prompting the United States to request this Court to place a gag order on Shkreli. See Letter Motion

 for Order Limiting Extrajudicial Statements By Defendant and Counsel for All Parties as to Martin

 Shkreli, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y. July 3, 2017), ECF No. 261. The

 Court ordered Shkreli not to make further comments to the press regarding the case, evidence or

 witnesses within the courthouse. Order, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y. July

 5, 2017). Nevertheless, Shkreli did not relent, posting inflammatory comments on his social media



                                                 -4-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 11 of 32 PageID #: 35




 pages in the following weeks such as “My case is a silly witch hunt perpetrated by self-serving

 prosecutors.” Matkov Decl. ¶ 14, Ex. F.

          On August 4, 2017, a federal jury found Shkreli guilty of two counts of securities fraud,

 and one count of conspiracy to commit securities fraud. See Verdict Sheet at 1-2, United States v.

 Shkreli, No. 15-cr-00637 (E.D.N.Y. Aug. 4, 2017), ECF No. 305. On September 13, 2017, with

 Shkreli’s sentencing hearing still pending, the Court revoked Shkreli’s bail and ordered him to be

 detained after he threatened former Secretary of State Hillary Clinton by publicly offering $5,000

 to anyone who would “‘grab’ some of her hair” on his behalf. See Motion to Revoke Bail by USA

 as to Martin Shkreli at 1, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y. Sep. 7, 2017), ECF

 No. 362; Order of Detention at 1-3, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y. Sep. 13,

 2017), ECF No. 367. In response to the Government’s request to revoke bail, Shkreli posted on

 social media: “Fuck the government. I will never kiss their ring or snitch.” Matkov Aff. ¶ 14c,

 Ex. F.

          On March 26, 2018, the Court entered Judgment imprisoning Shkreli for eighty-four

 months. Judgment in a Criminal Case at 2, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y.

 Mar. 26, 2018), ECF No. 566 (Matkov Decl. Ex. D) (the “Forfeiture Order”). The Forfeiture Order

 also required Shkreli to forfeit the proceeds of his fraud and criminal activity up to $7,360,450 (the
 “Forfeiture Money Judgment”). To satisfy this money judgment, the Forfeiture Order required

 Shkreli to forfeit “his interest in[,]” and “all proceeds traceable to[,]” certain assets including the

 Album. Id. at 9-10 (emphasis added). The Forfeiture Order also prohibited Shkreli from taking

 actions that could negatively affect the Album’s value. Specifically, it prohibited him from taking

 “any action that would have the effect of diminishing, damaging and/or dissipating” the Album,

 “restrained, enjoined and prohibited” Shkreli “from taking any action that would affect the

 availability, marketability or value of” the Album, and required Shkreli to “take all reasonable

 steps . . . to ensure that” the Album is “preserved . . . and are not damaged, diluted or diminished

 in value as a result of any” of Shkreli’s actions. Id. at 11-12. Shkreli was also to be placed under

 supervised release for three years with “special conditions” upon release from prison. Id. at 3.


                                                  -5-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 12 of 32 PageID #: 36




 Among these special conditions, the Forfeiture Order required Shkreli to “[c]omply with the fine

 and forfeiture orders” in the case. Id. at 5 and 7. Moreover, the terms of Shkreli’s supervision

 prohibited him from “knowingly leav[ing] the federal judicial district where [he was] authorized

 to reside without first getting permission from the court or the probation officer.” Id. at 4.

        C.      PleasrDAO Purchases The Album
        PleasrDAO acquired the Album in two transactions. In July 2021, it bought the physical

 asset and exclusive right to play the audio tracks for approximately $4,000,000. Matkov Decl. ¶ 9.

 In January 2024, it bought the copyrights in and exclusive right to exploit the recordings for

 approximately $750,000. Id. At all relevant times, the Album was moved by secure transport

 and/or kept in a secure location. The security measures undertaken included the use of armed

 security guards, secure entrance and exit points, and continual video surveillance, oversight and

 checks on the Album’s condition. Id. ¶ 11.

        D.      Shkreli Retains And Possibly Distributes The Album’s Data And Files In
                Violation Of The Forfeiture Order
        Since his release from prison in May 2022, Shkreli has maintained an active social media

 presence. Id. ¶ 13. He frequently posts on websites like facebook and X (formerly Twitter) and

 participates in “live stream” activity on websites including on Discord and YouTube. Id. ¶ 15. Live

 streamers often make money through viewership either by advertising revenue or paid channel

 memberships. Id. ¶ 16. During his live streams, Shkreli often shares his computer screen with his

 audience while he engages in online activities including virtual reality computer games and

 attempts to meet women through online dating. Id. ¶ 15. Presently, Shkreli’s YouTube Channel

 has over fifty-seven thousand subscribers. Id. ¶ 17.

        On several occasions, Shkreli has purportedly broadcast music from the Album over his

 live stream, and/or told viewers that he had retained copies of the Album’s data and files. For

 example, on or about June 18, 2022, Shkreli played certain files from the Album on his YouTube

 channel, stating “[y]eah, that’s the Wu Tang album for all you crazy streamer people.” Id. ¶ 18.

 During another YouTube live stream four days later, a viewer asked Shkreli if he still had a copy



                                                  -6-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 13 of 32 PageID #: 37




 of “Once Upon a Time in Shaolin.” Shkreli said, “I do. I was playing it on YouTube the other night

 even though somebody paid $4 million for it.” Id. That “somebody” was, of course, PleasrDAO.

        On June 30, 2022, Shkreli again played the music from the Album on his YouTube channel

 and stated, “of course I made MP3 copies, they’re like hidden in safes all around the world . . . I’m

 not stupid. I don’t buy something for two million dollars just so I can keep one copy.” Id. In March

 2023, writing about the Album on his personal blog, Shkreli stated that he “timed the sale of the

 album to take advantage of the NFT boom and made a great profit and still kept the mp3s,” which

 he had “played online a number of times since returning” from prison. Id. ¶ 19, Ex. H.

        Shkreli’s conduct and threats have accelerated of late as Shkreli has recently indicated his

 willingness to distribute his copies of the Album’s data and files to third parties. On April 13, 2024,

 a member of PleasrDAO posted a photo of the Album on X. Id. ¶ 20, Ex. I. Shkreli commented on

 the post, stating among other things, “LOL i have the mp3s you moron[,]” “i literally play it in my

 discord all the time. you’re an idiot[,]” and “this thread is about someone listening to a CD > 5000

 people have . . . .” Id. Shkreli indicated that he was willing to email the Album’s data and files to

 at least two commenters on the post, stating “i can just upload the mp3s if you want? email addy?”

 and “just give me your email lol[.]” Id. ¶ 21; Exs. J and K. On May 13, 2024, Shkreli appeared as

 a guest on a podcast and stated that he “burned the album and sent it to like, 50 different chicks,”
 asking the host, “Do you know how many blowjobs that album got me? You think I didn’t make

 a fucking copy of it? Are you joking?” Id. ¶ 22. On May 14, 2024, Shkreli posted a screenshot of

 PleasrDAO’s website to his X account with the caption “look out for a torrent im sick of this shit

 @PleasrDAO[,]” indicating that he would upload his copies for other X users to download. Id. ¶

 23; Ex. L. In responding to a comment on this post, Shkreli wrote “ive already sent it to 50 ppl[.]”

 Id. On June 9, 2024, Shkreli purportedly hosted a “Wu Tang official listening party” on his X

 account in which he played music from the Album to potentially over 4,900 listeners. Id. ¶ 24; Ex.

 M.




                                                  -7-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 14 of 32 PageID #: 38



        E.      Shkreli Other Displays of Contempt for PleasrDAO, Wu-Tang, and The
                Judicial System
        Shkreli has been a vocal opponent of PleasrDAO, Wu-Tang, the U.S. judicial system and

 this Court. In addition to the above, in recent social media posts, Shkreli tagged PleasrDAO and

 stated “look out for a torrent im sick of this shit.” Id. ¶ 23. Shkreli carried out a public feud with

 Wu-Tang members, posting a video online in which he threatened to “erase” Wu-Tang member

 “Ghostface Killah” from the Album and “the record books of rap” and another video in which he

 used the Work’s casing as a beverage coaster. Id. ¶¶ 24-25. When Shkreli attempted to sell the

 album on eBay in 2017, he posted on Facebook, “I am selling the Wu-Tang Clan album. Fuck Wu-

 Tang.” Id. ¶ 14, Ex. F.

        Shkreli also has criticized the judicial system on various occasions and violated court

 orders. While still in prison, Shkreli appears to have directed his friends and acquaintances to

 publish statements on his Facebook page on his behalf that criticized the justice system and,

 particularly, this Court. Matkov Decl. ¶ 14; Ex. F. A December 9, 2018 Facebook post from

 Shkreli’s Facebook account presumably written in response to the indictment of Chinese

 conglomerate Huawei’s Chief Financial Officer states, “The insecure bureaucrats at the EDNY are

 at it again, . . . . Hire judges who aren’t former prosecutors.” Id. A January 25, 2019 Facebook post

 from Shkreli’s Facebook account addressed to Roger Stone Jr. calls the justice system “rigged”

 and advised Stone that it was “probably better to make a polite mockery of the ‘justice’ system

 than hang on to the 1% chance you can beat illegal Brady suppression, FBI coercion, jury

 ‘instructions,’ two prosecutor closing statements, media leaks and trial-by-public-opinion, FBI

 agents getting to take the witness stand, etc.” Id.

        More recently, Shkreli has demonstrated his continued willingness to obfuscate and

 frustrate judicial proceedings. In a separate lawsuit brought by the Federal Trade Commission, the

 United States Court for the Southern District of New York banned Shkreli “for life from directly

 or indirectly participating in any manner in the pharmaceutical industry.” Opinion and Order at

 127, Federal Trade Commission v. Vyera Pharmaceuticals, LLC, No. 20-cv-00706 (S.D.N.Y.

 Jan. 14, 2022), ECF No. 865. Later in 2022, however, Shkreli announced the formation of a new


                                                  -8-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 15 of 32 PageID #: 39




 company called Druglike with the stated purpose to “disrupt the economics of the drug business

 by allowing a wide pool of innovators and contributors, rather than only pharmaceutical giants, to

 profit from drug discovery.” Plaintiffs’ Memorandum of Law in Support of Motion for an Order

 to Show Cause Why Defendant Shkreli Should Not Be Found in Civil Contempt for Violating the

 Court’s February 4, 2022 Order at 5, Federal Trade Commission v. Vyera Pharmaceutricals, LLC,

 No. 20-cv-00706 (S.D.N.Y. Jan. 20, 2023), ECF No. 922. To assess whether Shkreli’s involvement

 with Druglike violated the lifetime pharmaceutical industry ban, the FTC sought information

 regarding the company and Shkreli’s involvement that Shkreli was obligated to provide under

 court order. Id. After several months of receiving no substantive responses from Shkreli, the FTC

 moved for an order placing Shkreli in civil contempt. Id. Only after facing a contempt order did

 Shkreli agree to comply. Letter addressed to Judge Denise L. Cote from Markus H. Meier and

 Brianne E. Murphy dated 03/06/2023 re: Defendant Shkreli’s Intent to Comply with Plaintiffs’

 Compliance Requests, Federal Trade Commission v. Vyera Pharmaceutricals, LLC, No. 20-cv-

 00706 (S.D.N.Y. Mar. 13, 2023), ECF No. 933.

        Finally, on or around November 6, 2023, Shkreli violated the terms of his supervised

 release by travelling out of state without permission from his probation office. Order and Report

 on Person Under Supervision at 2, United States v. Shkreli, No. 15-cr-00637 (E.D.N.Y. Dec. 6,
 2023), ECF No. 794.

                                   III.        ARGUMENT
        PleasrDAO requests three general forms of equitable relief. First, the Court should issue

 a temporary restraining order and preliminary injunction to prevent Shkreli from possessing, using,

 disseminating, or selling any interests in the Album, or in any way causing further damage to

 PleasrDAO respecting the Album. Second, the Court should issue an order compelling Shkreli to

 provide an inventory and accounting of (i) the copies of the Album data and files he retained, (ii)

 the individuals to whom he distributed those data and files, and (iii) the profits traceable to his

 retention and distribution of those files. Third, the Court should issue civil seizure order seizing

 all of Shkreli’s remaining copies of the Album’s data and files. Finally, the Court should issue an


                                                -9-
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 16 of 32 PageID #: 40




 order compelling Shkreli to disgorge any wrongfully gained profits from his retention and

 distribution of the Album’s data and files.

             A. The Court Should Issue A Temporary Restraining Order and Preliminary
                Injunction To Preserve The Status Quo
         The Court should issue a temporary restraining order and preliminary injunction to prevent

 Shkreli from possessing, using, disseminating, and/or selling any interests in the Album, or in any

 way causing further damage to PleasrDAO’s respecting the Album. The standard for issuance of

 a temporary restraining order is the same as the standard for a preliminary injunction. See Fairfield

 Cty. Med. Ass’n v. United Healthcare of New Eng., 985 F. Supp. 2d 262, 270 (D. Conn. 2013),

 aff’d, 557 Fed. Appx. 53 (2d Cir. 2014). To prevail on a motion for a preliminary injunction or a
 temporary restraining order, the movant must show: (1) irreparable harm, (2) either a likelihood of

 success on the merits or (b) sufficiently serious questions going to the merits to make them a fair

 ground for litigation, (3) that the balance of hardships tips decidedly in the movant’s favor, and (4)

 that the public interest would not be disserved by the issuance of the injunction. See Yang v.

 Kosinki, 960 F.3d 119, 127 (2d Cir. 2020); Benihana, Inc. v. Benihana of Tokyo, LLC, 784 F.3d

 887, 895 (2d Cir. 2015). Where the movant seeks to modify the status quo by virtue of a

 mandatory preliminary injunction,” he “must also make a strong showing of irreparable harm and

 demonstrate a clear or substantial likelihood of success on the merits.” See A.H. v. French, 985

 F.3d 165, 176 (2d Cir. 2021).

         As detailed below, PleasrDAO easily satisfies both the normal and heightened standards

 for prohibitive and mandatory injunctions, respectively. Injunctive relief is an appropriate remedy

 for each of PleasrDAO’s claims. See, e.g., 18 U.S.C. § 1836(3)(A) (“In a civil action brought under

 this subsection with respect to the misappropriation of a trade secret, a court may . . . grant an

 injunction.”); Reuben H. Donnelley Corp. v. Mark I Mktg. Corp., 893 F. Supp. 285, 293 (S.D.N.Y.

 1995) (injunctive relief is appropriate where the plaintiff “will suffer irreparable harm because of

 the conduct, e.g., that they have no adequate remedy at law, and that the balance of equities weighs

 in their favor.”)



                                                 - 10 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 17 of 32 PageID #: 41



                1.      PleasrDAO Is Substantially Likely To Succeed On The Merits Of Its
                        Claims
        The Second Circuit has adopted a flexible standard regarding the “likelihood of success”

 requirement, allowing a party seeking a preliminary injunction to show either a likelihood of

 success on the merits or “sufficiently serious questions going to the merits to make them a fair

 ground for litigation and a balance of hardships tipping decidedly toward the party requesting the

 preliminary relief.” See Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund

 Ltd., 598 F.3d 30, 35 (2d Cir. 2010). To establish a likelihood of success on the merits, a plaintiff

 “need not show that success is an absolute certainly. [It] need only make a showing that the

 probability of his prevailing is better than fifty percent.” See Broker Genius, Inc. v. Zalta, 280 F.

 Supp. 3d 495, 509 (S.D.N.Y. 2017) (citation omitted). PleasrDAO is substantially likely to succeed

 on the merits of its claims for third party enforcement of the Forfeiture Order, violation of the

 Defend Trade Secrets Act (“DTSA”), state law trade secret misappropriation, and tortious

 interference with prospective economic advantage.

                        a. Shkreli Violated The Forfeiture Order
        Under Rule 71 of the Federal Rules of Civil Procedure (“FRCP”), “a non-party may enforce

 obedience to a court’s order if he is an intended beneficiary of the order and if he has standing, i.e.

 if his complaint comes within the zone-of-interests protected by the order.” EEOC v. Int’l Ass’n of

 Bridge, Structural & Ornamental Ironworkers, Local 580, 139 F. Supp. 2d 512, 520-21 (S.D.N.Y.

 2001) (citing FRCP 71); see also Hanyzkiewicz v. Allegiance Retail Servs., LLC, No. 22-CV-4051

 (ALC), 2023 U.S. Dist. LEXIS 58489, at *9 (S.D.N.Y. Mar. 31, 2023). While typically used by

 intervening non-parties in the underlying proceeding in which the relevant order was made, Rule

 71 “may support a separate action” by a non-party to enforce an injunction if the nonparty still has

 standing to sue. See Lasky v. Quinlan, 558 F.2d 1133, 1137 (2d Cir. 1977).

        The Forfeiture Order intended to benefit the purchasers of Shkreli’s forfeited assets,

 including PleasrDAO as an immediate purchaser of the Album. The order affirmatively restrained

 Shkreli from taking “any action that would affect the availability, marketability or value of the”




                                                 - 11 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 18 of 32 PageID #: 42




 Album and imposed affirmative obligations on Shkreli to “take all reasonable steps . . . to ensure

 that” the Album was “preserved . . . [and] not damaged, diluted or diminished in value as a result

 of any” of Shkreli’s actions. See Matkov Decl. Ex. D at 12. PleasrDAO’s interests likewise fall

 within the zone-of-interests protected by the order because the order’s purpose, inter alia, is to

 preserve the value of Shkreli’s Substitute Assets, including the Album. Id. Enforcement of the

 order’s value preserving provisions is necessary to maintain the integrity of the USMS’ ability to

 sell unencumbered forfeited items.

                    b.      Shkreli Has And Continues To Violate The Defend Trade Secrets Act
        Shkreli has violated and threatens to further violate the DTSA by misappropriating the

 Album’s data and files. “The DTSA provides a private right of action for the misappropriation of

 trade secrets, if the trade secret is related to a product or service used in, or intended for use in,

 interstate or foreign commerce.” eShares, Inc. v. Talton, No. 22-CV-10987 (JGLC), 2024 U.S.

 Dist. LEXIS 59936, at *14 (S.D.N.Y. Mar. 29, 2024) (citing 18 U.S.C. § 1836(b)(1)). To state a

 claim for trade secret misappropriation under the DTSA, “a plaintiff must prove that (1) it

 possessed a trade secret, and (2) the defendant misappropriated the trade secret.” Better Holdco,

 Inc. v. Beeline Loans, Inc., 666 F. Supp. 3d 328, 384 (S.D.N.Y. 2023) (internal citation and

 quotation marks omitted). Given that PleasrDAO, the purchaser of the Album, is a foreign entity,

 there can be no dispute that the trade secret at issue involves a product used in interstate commerce.

 United Serv. Prot. Corp. v. Lowe, 354 F. Supp. 2d 651, 658 (S.D. W. Va. 2005) (finding transaction

 related to interstate commerce because it was entered into between citizens of different states).

        The Album’s data and files are also trade secrets. “The DTSA sets forth a broad definition

 of ‘trade secret’ that encompasses ‘all forms and types of financial, business, scientific, technical,

 economic, or engineering information, including patterns, plans, compilations, program devices,

 formulas, designs, prototypes, methods, techniques, processes, procedures, programs, or codes,

 whether tangible or intangible[.]’” DFO Glob. Performance Commerce Ltd. (Nev.) v. Nirmel, No.

 20-CV-6093 (JPO), 2021 U.S. Dist. LEXIS 148009, at *11 (S.D.N.Y. Aug. 6, 2021) (emphasis




                                                 - 12 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 19 of 32 PageID #: 43




 added) (quoting 18 U.S.C. § 1839(3)). Moreover, the owner must have “taken reasonable measures

 to keep such information secret,” and the “information [must] derive[] independent economic

 value, actual or potential, from not being generally known to, and not being readily ascertainable

 through proper means by, another person who can obtain economic value from the disclosure or

 use of the information[.]” 18 U.S.C. § 1839(3); see Turret Labs USA, Inc. v. CargoSprint, LLC,

 No. 21-952, 2022 U.S. App. LEXIS 6070, at *3 (2d Cir. Mar. 9, 2022).

          Here, the Album’s data and files comprise business, scientific, technical, economic, or

 engineering information, i.e., a compilation of data and files comprising Wu-Tang’s proprietary

 musical recordings, compositions, lyrics, and sound engineering. 2 PleasrDAO has taken abundant
 measures to keep the Album’s data and files secret, including travelling by secure transport,

 accompanied by armed security guards, to retrieve the Album, and then storing the Album in a

 secure location protected by a gated and guarded entrance and exit, video surveillance, and

 constant oversight and checks on condition and required restoration. Matkov Decl. ¶ 11.

          The Album’s data and files clearly derive independent economic value from their secrecy.

 This is evidenced by the Album’s record-breaking purchase prices. Id. ¶ 7. Both the Original

 Purchase Agreement and Resale Purchase Agreement contemplate that the Album’s owner may

 earn profits from privately playing and exhibiting the data and files. Id. Ex. B at 2. Indeed,

 PleasrDAO acquired the Album in part to arrange for private performances of the data and files

 throughout the world. Id. ¶ 12.

          Shkreli misappropriated the Album’s data and files by surreptitiously withholding such

 information from the USMS and others, when it was legally compelled to disgorge all interests in

 the Album. Shkreli indisputably knew that the Album was a trade secret based on the contractual

 restrictions regarding dissemination that he was aware of, and entered into, and his numerous posts


 2
   This classification is supported by the Department of Justice’s treatment of the Album under the Freedom of
 Information Act (“FOIA.”) On August 4, 2021, an individual submitted a FOIA request for various documents
 pertaining to the Album. On January 5, 2022, the Department of Justice responded to the request stating that it was
 withholding information responsive to the request under FOIA Exemption (b)(4), which “protects trade secrets and
 commercial or financial information obtained from a person that is privileged or confidential.” Matkov Decl. ¶ 27,
 Ex. N.


                                                        - 13 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 20 of 32 PageID #: 44




 proclaiming the confidential nature of the Album. A trade secret is misappropriated when, inter

 alia, one “disclos[es] or use[s]” another’s “trade secret” without the other’s “express or implied

 consent,” and the discloser “knew or had reason to know that the knowledge of the trade secret

 was . . . acquired under circumstances giving rise to a duty to maintain the secrecy of the trade

 secret or limit the use of the trade secret[.]” 18 U.S.C. § 1839(5)(B)(ii)(II). Shkreli knowingly and

 maliciously disclosed the music over public live streams. Matkov Decl. ¶¶ 18, 24. His social media

 activity suggests that he intends to distribute the Album’s data and files. Id. ¶¶ 21-23. Shkreli does

 not have (and has not ever had) PleasrDAO’s express or implied consent to disclose or use the

 music or the data and files. Id. ¶ 28.

        As noted, Shkreli acquired the Album’s data and files under several circumstances giving

 rise to a duty to maintain the Album’s secrecy or to limit its use. First, under the Original Purchase

 Agreement, Shkreli was prohibited from duplicating, replicating, or exploiting the Album’s data

 and files for any reason other than for limited “exhibition and playing” purposes. Matkov Decl.

 Ex. B at 5-6. As a separate condition to the Original Purchase Agreement, Shkreli represented and

 warranted to the Producers that “[f]or 88 years after the Closing” he would “not engage in any”

 activity “outside of the scope” of these permitted exhibition and playing purposes. Id. at 9. The

 Original Purchase Agreement thus imposed a duty on Shkreli to maintain the Album’s secrecy and
 to limit its use to those permitted uses defined in the Original Purchase Agreement.

        Second, Shkreli represented under the Original Purchase Agreement that in the event of his

 “resale or transfer” of the Album to another entity, he would “bind such buyer or transferee by

 written agreement to the same rights, restrictions, and obligations on the use, sale, and transfer

 of the Work” as Shkreli was subject to in the Original Purchase Agreement. Id. (emphasis added).

 This representation clearly established a duty that flowed with the contract to maintain the Album’s

 secrecy and limit its use.

        Third, under the Forfeiture Order, Shkreli was prohibited from taking any action that would

 “have the effect of diminishing, damaging and/or dissipating” the Album, or “affect the

 availability, marketability or value” of the Album. Matkov Decl. Ex. D at 11. Shkreli knew that


                                                 - 14 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 21 of 32 PageID #: 45




 the Album’s primary value and marketability was in its exclusivity because he purchased the

 Album under materially similar terms. He knew that by distributing copies of Album’s data and

 files or by playing it publicly, his actions would decrease the Album’s marketability and value.

 Accordingly, the Forfeiture Order also established a duty on Shkreli to maintain the Album’s

 secrecy and limit its use.

                         c. Shkreli Has And Continues To Misappropriate Trade Secrets Under
                            New York Law
         Under New York law, “a plaintiff claiming misappropriation of a trade secret must prove:

 (1) it possessed a trade secret, and (2) defendant is using that trade secret in breach of an agreement,

 confidence, or duty, or as a result of discovery by improper means.” Integrated Cash Mgmt. Servs.

 v. Dig. Transactions, Inc., 920 F.2d 171, 173 (2d Cir. 1990). “In determining whether a trade secret

 exists, the New York courts have considered the following factors to be relevant:”

         (1) the extent to which the information is known outside of his business; (2) the
         extent to which it is known by employees and others involved in his business; (3)
         the extent of measures taken by him to guard the secrecy of the information; (4) the
         value of the information to him and to his competitors; (5) the amount of effort or
         money expended by him in developing the information; (6) the ease or difficulty
         with which the information could be properly acquired or duplicated by others.

 Integrated Cash Mgmt. Servs. v. Dig. Transactions, Inc., 920 F.2d 171, 173 (2d Cir. 1990).

         Applied here, nearly every Integrated Cash Management Services factor suggests that the
 Album’s data and files are protected trade secrets which Shkreli threatens to misappropriate. The

 Album’s data and files are generally unknown to anybody other than, e.g., Wu-

 Tang, the Producers, Shkreli, the USMS, and PleasrDAO. Matkov Decl. at ¶ 5. The data and files

 are not generally known inside or outside the music industry. Id. As noted, PleasrDAO has taken

 measures to protect the secrecy of the data and files. Id. at ¶ 11. The value of the data and files is

 great to PleasrDAO, as the Album’s premium value depends almost entirely on the exclusivity of

 the data and files. The data and files are not “readily ascertainable” but for Shkreli’s improper

 disclosure and use[.]” Integrated Cash Mgmt. Servs, 920 F.2d at 174.



                                                  - 15 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 22 of 32 PageID #: 46




           Finally, and as discussed above, Shkreli’s retention, playing, and dissemination of his

 copies of the Album’s data and files breaches the Forfeiture Order and duties flowing from the

 Original Purchase Agreement restricting transfer of those files.

                         d. Shkreli Tortiously Interfered With PleasrDAO’s Prospective
                            Economic Advantage
           “Under New York law, to state a claim for tortious interference with prospective economic

 advantage, the plaintiff must allege that[:] (1) it had a business relationship with a third party; (2)

 the defendant knew of that relationship and intentionally interfered with it; (3) the defendant acted

 solely out of malice, or used dishonest, unfair, or improper means; and (4) the defendant’s

 interference caused injury to the relationship.” JBrick, LLC v. Chazak Kinder, Inc., No. 21-CV-

 02883 (HG) (RLM), 2023 U.S. Dist. LEXIS 168647, at *12 (E.D.N.Y. Sep. 21, 2023) (quoting

 Kirch v. Liberty Media Corp., 449 F.3d 388, 400 (2d Cir. 2006)). Those elements are easily

 satisfied here.

           First, PleasrDAO contracted to buy the Album and its playing rights. The Resale Purchase

 Agreement, like the Original Purchase Agreement, contemplated that PleasrDAO would share in

 any profits obtained from exhibiting and playing the Album along with Shkreli’s counterparties to

 the Original Purchase Agreement—RZA and Azzougarh. Matkov Decl. ¶ 12; Ex. B. PleasrDAO

 has plans for such exhibition and playing and is seeking to monetize the Album with third parties

 in the near future. Id. ¶ 31. Shkreli’s actions are tortiously interfering with PleasrDAO’s economic

 rights.

           Second, Shkreli knew about PleasrDAO’s purchase of the Album. Id. ¶ 18 (acknowledging

 that “somebody paid $4 million for it”); ¶ 21 (commenting about the Album in response to a social

 media post made by a PleasrDAO member); ¶ 23 (tagging PleasrDAO on X); ¶ 24 (stating that he

 would play the music on X because PleasrDAO’s X account had blocked him). Shkreli

 intentionally interfered with PleasrDAO’s business relationship by, inter alia, playing the music

 over his live streams and threatening to further interfere by distributing the Album data and files.




                                                 - 16 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 23 of 32 PageID #: 47




 Id. ¶¶ 18-24. Both actions, real or contemplated, would diminish the value of the Album. See supra

 Sec. II.D.

          Third, Shkreli used malice, or used dishonest, unfair, or improper means to cause this

 interference. Shkreli’s animosity toward PleasrDAO, the court and others is set forth above. He,

 (i) repeatedly threatened to publicly disseminate his copies of the album in social media posts, at

 times, tagging PleasrDAO and posting a screenshot of PleasrDAO’s website; (ii) purportedly

 played music from the Album on social media in response to PleasrDAO’s social media activity,

 and (iii) publicly feuded with Wu-Tang and threatened to erase their work. Matkov Decl. ¶¶ 23-

 26. Shkreli at no time notified the USMS that he was withholding the data and files of the Album

 in violation of the Forfeiture Order. The Forfeiture Order prohibits Shkreli from doing anything

 that would diminish the Album’s value, and he cannot profit from the Album. Matkov Decl. Ex.

 D at 9-12. Accordingly, he should have stopped possessing, using, disseminating or selling any

 aspects of the Album. 3 Shkreli’s actions reflect that he acted purely out of malice.
          Finally, Shkreli’s past and future acts of disseminating the Album copies has and will

 continue to injure PleasrDAO by impeding its ability to sell this unique artwork, and diminishing

 the Album’s value.

                            e. Shkreli was Unjustly Enriched by Misappropriating the Album.
          “The basis of a claim for unjust enrichment under New York law is that the defendant has

 obtained a benefit which in equity and good conscience should be paid to the plaintiff.” Carnegie

 E. House Hous. Dev. Fund Co., Inc. v. Interiors Grp. LLC, No. 23-cv-8384 (JSR), 2024 U.S. Dist.

 LEXIS 47655, at *3-4 (S.D.N.Y. Mar. 13, 2024) (quoting Corsello v. Verizon N.Y., Inc., 18 N.Y.3d

 777, 790 (N.Y. 2012). The elements of unjust enrichment are “1) that the defendant benefitted; 2)

 at the plaintiff’s expense; and 3) that equity and good conscience require restitution.” Keybanc


 3
   Had Shkreli not forfeited all interests in the Album as a condition of the Forfeiture Order, his interference would
 still be improper under the Original Purchase Agreement. Under that agreement, Shkreli never had the right to
 transfer any duplicated or replicated copies of the Album; he only had the right to resell or transfer the Album and
 all appurtenant “rights, restrictions, and obligations on the use, sale, and transfer of the” Album. Matkov Decl. Ex. B
 at 9.


                                                         - 17 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 24 of 32 PageID #: 48




 Capital Mkts., Inc. v. Extreme Steel, Inc., No. 23-cv-8535 (JSR), 2024 U.S. Dist. LEXIS 3047, at

 *10 (S.D.N.Y. Jan. 5, 2024) (quoting Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000)).

 “Typical [unjust enrichment] cases are those in which the defendant . . . has received money to

 which he or she is not entitled.” Id.

         Shkreli’s intimations that he has played the data and files for others on his streams means

 he more likely than not obtained some benefit from improperly retaining the data and files, whether

 by increased advertising revenue on his stream, member donations and channel subscriptions, or

 direct compensation. This benefit to Shkreli comes at PleasrDAO’s expense, as the Album’s value,

 both in its resale potential and the potential profits it commands from exhibition and playing rights,

 will decrease as more people can freely hear the Album’s music or gain access to the data and

 files. Equity and good conscience require restitution for myriad reasons including that: (1) Shkreli

 has not done anything to benefit PleasrDAO; (2) Shkreli’s benefit is derived from violating a court

 order; and (3) PleasrDAO’s harm undermines the credibility of the Court’s forfeiture powers and

 the USMS’ ability to sell unencumbered assets.

                     2. PleasrDAO Will Suffer Irreparable Harm If Shkreli Is Not
                        Immediately Restrained
         Irreparable harm is “injury for which a monetary award cannot be adequate compensation.”

 Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979). It often stems from

 the loss of a unique product. See Tom Doherty Assocs., Inc v. Saban Entm’t, Inc., 60 F.3d 27, 37-

 38 (2d Cir. 1995); Reuters Ltd. v. United Press Int’l Inc., 903 F.2d 904, 907-08 (2d Cir. 1990). “In

 this regard, a showing of irreparable harm is similar to the showing required for specific

 performance of a contract[;] . . . [o]riginal works of art are within the small category of intrinsically

 unique goods for which a specific performance remedy is appropriate.” Robins v. Zwirner, 713 F.

 Supp. 2d 367, 374 (S.D.N.Y. 2010) (holding that the sale of unique paintings could cause

 irreparable harm); Cf. David Tunick, Inc. v. Kornfeld, 838 F. Supp. 848, 852 (S.D.N.Y. 1993)

 (finding two photo prints, even where produced by the same artist and same plate, to be unique).




                                                  - 18 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 25 of 32 PageID #: 49




         The Album is an original piece of art and only one original copy of the Album exists. The

 Album’s uniqueness was a material condition of PleasrDAO’s purchase, as the purchase price was

 based on representations that the data and files on the two-CD set comprised the only copy of

 ‘Once Upon a Time in Shaolin.’ See Matkov Decl. Ex. B at 1-2. While Shkreli’s retention of copies

 of the Album’s data and files alone diminishes the value of the Album, his threatened distribution

 of these copies to the broader public would further erode the relative uniqueness of the Album.

 The lost value from such distribution is not determinable, rendering the calculation of an

 appropriate monetary remedy difficult, if not impossible.

         Moreover, “[a] rebuttable presumption of irreparable harm might be warranted in cases

 where there is a danger that, unless enjoined, a misappropriator of trade secrets will . . . irreparably

 impair the value of those secrets.” Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110,

 118 (2d Cir. 2009); accord Loandepot.Com, LLC v. Crosscountry Mortg., LLC, 2022 U.S. Dist.

 LEXIS 167104, at *4 (S.D.N.Y. Sep. 15, 2022); KCG Holdings, Inc. v. Khandekar, No. 17 Civ.

 3533, 2020 U.S. Dist. LEXIS 44298, 2020 WL 1189302, at *16 (S.D.N.Y. Mar. 12, 2020).

 Irreparable harm is presumed because a “trade secret once lost is, of course, lost forever.” FMC

 Corp. v. Taiwan Tainan Giant Indus. Co., 730 F.2d 61, 63 (2d Cir. 1984). “[I]t is clear that the loss

 of trade secrets cannot be measured in money damages.” Id.
         Here, Shkreli has apparently possessed, used, disseminated and/or sold the data and files

 of the Album and threatens to continue to do so. The Album is PleasrDAO’s property, and all

 aspects of it comprise confidential and protected trade secrets. Shkreli’s misappropriation has

 caused irreparable harm necessitating a temporary restraining order and preliminary injunction.

                    3. The Balance Of Hardships Weighs Strongly In PleasrDAO’s Favor
        If Shkreli is allowed to continue his unauthorized use of the Album’s data and files,

 PleasrDAO will suffer incalculable monetary loss, damage to its reputation, loss of control of its

 reputation, and loss of industry and consumer trust and goodwill. The Album’s potential resale

 value and the profits that PleasrDAO may earn from playing or exhibiting the music will diminish

 as the data and files become more widely available. Further, PleasrDAO’s reputation as a purveyor


                                                  - 19 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 26 of 32 PageID #: 50




 of culturally significant pieces will also suffer, and members of the PleasrDAO members-only

 ecosystem may lose trust in PleasrDAO and its ability to procure truly unique pieces of art. Matkov

 Decl. ¶ 3.

        By contrast, if an injunction is entered, Shkreli will not suffer at all. An injunction would

 simply compel him to comply with the Forfeiture Order and honor PleasrDAO’s rights. It will

 require him to refrain from his malicious behavior in which he improperly and arrogantly seeks to

 damage PleasrDAO without any justification. He would simply be compelled to abide by what he

 is already legally obligated to do.

        When the moving party will suffer harm that is not compensable in the absence of an

 injunction and the defendant is harmed only economically, courts in this circuit routinely find that

 the balance of hardships tips decidedly in the movants’ favor. See Warner-Lambert Co. v.

 Northside Dev. Corp., 86 F.3d 3, 8 (2d Cir. 1996); see also Markovits v. Venture Info. Capital,

 Inc., 129 F. Supp. 2d 647, 661 (S.D.N.Y. 2001) (award of damages would not compensate moving

 party where threat of harm was to party’s viability in marketplace).

                    4. The Public Interest Supports An Injunction
        Finally, an injunction barring Shkreli from distributing the Album’s data and files is in the

 public interest. Should Shkreli distribute copies of the Album at will, the public’s perception of
 the United States’s forfeiture powers will be undermined. Also, “[t]he consuming public has a

 protectable interest in being free from confusion, deception and mistake.” United States Polo Ass’n

 v. PRL USA Holdings, Inc., 800 F. Supp. 2d 515, 541 (S.D.N.Y. 2011). Confusion and deception

 would result if Shkreli continues to possess, use or disseminate copies of the Album. Shkreli’s

 purchase—and forfeiture—of the Album garnered national attention, and many of the terms of the

 Original Purchase Agreement are publicly known. It is public information that “the album is

 subject to various restrictions, including those relating to the duplication of its sound recordings,”

 and that Shkreli was forced to give up his interest in the Album as a condition of the Forfeiture

 Order. Matkov Decl. ¶ 10, Ex. E; id. Ex. D at 9-10.




                                                 - 20 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 27 of 32 PageID #: 51




        Moreover, “[t]here is a substantial public interest in the protection of trade secrets and

 proprietary information as well as the enforceability of contracts.” BaseCap Analytics Inc. v.

 Amenn, No. 1:23-cv-09370-MKV, 2023 U.S. Dist. LEXIS 209808, at *10-11 (S.D.N.Y. Nov. 22,

 2023) (internal quotations omitted); Dymax Corp. v. Kalach, No. 3:22-CV-00516 (KAD), 2022

 U.S. Dist. LEXIS 65404, at *3 (D. Conn. Apr. 8, 2022); Aventri, Inc. v. Tenholder, No. 3:18-CV-

 02071 (KAD), 2018 U.S. Dist. LEXIS 212607, at *2 (D. Conn. Dec. 18, 2018). Where, as here,

 the Album’s data and files is a trade secret and PleasrDAO is its lawful owner, affirming

 PleasrDAO’s unencumbered interests in the Album will serve the public interest.

                    5. No Security Bond is Necessary under Rule 65.
        Rule 65 of the Federal Rules of Civil Procedure requires the applicant for a temporary

 restraining order or preliminary injunction to give “security in an amount that the court considers

 proper to pay the costs and damages sustained by any party found to have been wrongfully enjoined

 or restrained.” FRCP 65. However, “Rule 65(c) gives the district court wide discretion to set the

 amount of a bond, and even to dispense with the bond requirement ‘where there has been no proof

 of likelihood of harm.’” Doctor’s Assocs. v. Distajo, 107 F.3d 126, 136 (2d Cir. 1997) (quoting

 Doctor’s Assocs. v. Stuart, 85 F.3d 975, 985 (2d Cir. 1996)). As the violations here are blatant

 and egregious, and there is no likelihood of harm to Shkreli should the Court enjoin him from
 further distributing the Album, the Court should not require PleasrDAO to post a security bond.

            B. An Inventory And Accounting Of The Copies Retained And The Individuals
               To Whom Shkreli Distributed The Data And Files, And Any Attendant
               Profits, is Necessary.
        The Court should also issue an order compelling Shkreli to provide an inventory and

 account of (i) the copies of the Album data and files he retained, (ii) the individuals to whom he

 distributed those data and files, and (iii) the profits traceable to his retention and distribution of

 those files, if any. Shkreli’s social media posts indicate that other individuals may already have

 copies of the Album’s data and files. Matkov Decl. ¶ 20, Ex. I (“this thread is about someone

 listening to a CD > 5000 people have”); ¶¶ 22-23, Ex. L (“ive already sent it to 50 people”). It is

 therefore possible, if not probable, that Shkreli has already distributed copies of the data and files


                                                 - 21 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 28 of 32 PageID #: 52




 to third parties and may have profited from doing so (whether through direct compensation or

 increased viewership on his streaming platforms). An inventory and accounting is therefore

 necessary to determine the scope of Shkreli’s wrongdoing and to effectuate the seizure of said data

 and files and to determine an appropriate amount for disgorgement. See, e.g. Shamrock Power

 Sales, LLC v. Scherer, No. 12-CV-8959 (KMK) (JCM), 2016 U.S. Dist. LEXIS 144773, at *14-

 16 (S.D.N.Y. Oct. 18, 2016) (finding that the equitable remedy of accounting is permissible where

 the claim seeks equitable relief, “considering the basis for the plaintiff’s claim and the nature of

 the underlying remedies sought.”) (internal quotes omitted); see also Gucci Am. v. Bank of China,

 768 F.3d 122, 132 (2d Cir. 2014) (accounting proper as a prerequisite for disgorgement).

            C. Civil Seizure and Disgorgement Is Necessary To Prevent Shkreli From
               Further Disseminating The Album’s Data And Files
        Finally, given Shkreli’s threatened dissemination of the Album’s data and files and his

 penchant for disobeying court orders, civil seizure of Shkreli’s copies of the data and files is also

 necessary to prevent irreparable harm to PleasrDAO. Federal courts are empowered to grant a

 seizure order under the DTSA and, through Rule 64 of the Federal Rules of Civil Procedure,

 pursuant to Section 7102 of the New York Civil Practice Law and Rules (“CPLR”).

                    1. The Court Has Authority To Order Seizure Under The DTSA
        The DTSA permits courts to, in “extraordinary circumstances, issue an order providing for

 the seizure of property necessary to prevent the propagation or dissemination of the trade secret

 that is the subject of the action.” 18 U.S.C. § 1836(b)(2)(A)(i). Prior to issuing a seizure order, the

 Court must find “that it clearly appears from specific facts” that:

        1) an order issued pursuant to Rule 65 of the Federal Rules of Civil Procedure or
        another form of equitable relief would be inadequate because the party to which the
        order would be issued would evade, avoid, or otherwise not comply with such an
        order;

        2) an immediate and irreparable injury will occur if such seizure is not ordered;

        3) the harm to the applicant of denying the application outweighs the harm to the
        legitimate interests of the person against whom seizure would be ordered of



                                                 - 22 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 29 of 32 PageID #: 53




         granting the application and substantially outweighs the harm to any third parties
         who may be harmed by such seizure;

         4) the applicant is likely to succeed in showing that the information at issue is a
         trade secret and the defendant misappropriated the trade secret by inappropriate
         means or conspired to do so;

         5) the person against whom seizure would be ordered has actual possession of the
         trade secret, and any property to be seized;

         6) the application describes with reasonable particularity the matter to be seized
         and, to the extent reasonable under the circumstances, the location where the matter
         is to be seized;

         7) if the applicant were to provide notice, the person against whom seizure would
         be ordered would destroy, move, hide, or otherwise make such matter inaccessible
         to the court; and

         8) the applicant has not publicized the requested seizure.

 18 U.S.C. § 1836(b)(2)(A)(ii). This case presents “extraordinary circumstances” in which a civil

 seizure order is necessary.

         First, there is a high probability that Shkreli would “evade, avoid, or otherwise not comply”

 with other forms of equitable relief. Shkreli has flouted the law on numerous occasions and is an

 outspoken critic of the justice system. See supra Sec. II.5. He has already failed to comply with

 the Forfeiture Order’s requirement that he forfeit his interests in the Album. He has evaded other

 court orders, including the terms of his supervised release from prison and, potentially, his lifetime

 ban on pharmaceutical industry involvement. Id. And he has expressed, on numerous occasions,

 his conviction that he is entitled to retain copies of the Album’s data and files, distributing them

 as he sees fit. See supra Sec. II.4.

         Second, an immediate and irreparable injury will occur if such seizure is not ordered. As

 discussed at length above, the Album is a unique and historical record. See supra at Secs. II.A and

 III.A.2. Shkreli may have already distributed copies of the Album’s data and files and threatens to

 continue to do so. See supra Sec. II.4. As the Album’s data and files are more widely circulated,

 the value of the Album will continue to diminish to an unquantifiable extent.




                                                 - 23 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 30 of 32 PageID #: 54




        Third, the harm to PleasrDAO in denying this application would outweigh any potential

 the harm to Shkreli (if any) by granting the application. Shkreli has no “legitimate interests” in

 retaining his copies of the Album’s data and files because he already forfeited those interests under

 the Forfeiture Order. Likewise, no third parties would be harmed by such a seizure.

        Fourth, PleasrDAO is likely to succeed in showing that the Album’s data and files

 constitute a trade secret and that Shkreli misappropriated the data and files by inappropriate means

 for the same reasons as discussed in this Application’s request for a TRO. See infra Secs. (i)(B)(1)

 and (i)(B)(2).

        Fifth, Shkreli claimed multiple times to have actual possession of the data and files. See

 supra Sec. II.4.

        Sixth, this application describes with reasonable particularity the matter to be seized—

 Shkreli’s digital and hard copies of the Album’s data and files. As Shkreli has live streamed his

 music, he presumably owns copies of the data and files on his computer. A search of his computer

 is also likely to reveal the location of any hard copies of such data and files.

        Seventh, if the PleasrDAO were to provide notice, Shkreli would likely move or hide the

 data and files, as he allegedly has already hidden copies around the world.

        Eighth, PleasrDAO has not publicized this requested seizure.

                    2. The Court Has Authority To Order Seizure Under FRCP 64 And The
                       State Law Doctrine Of Replevin
        Federal Courts may issue the remedy of seizure as permitted by State Law under Federal

 Rule of Civil Procedure 64. See FRCP 64. “The issuance of an order of seizure for chattels in New

 York is governed by Article 71 of the CPLR.” Southland Corp. v. Froelich, 41 F. Supp. 2d 227,

 248 (E.D.N.Y. 1999). Under CPLR Article 71, any “application for an order of seizure shall be

 supported by an affidavit which shall clearly identify the chattel to be seized and shall state:”

        1. that the plaintiff is entitled to possession by virtue of facts set forth;

        2. that the chattel is wrongfully held by the defendant named;




                                                  - 24 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 31 of 32 PageID #: 55




        3. whether an action to recover the chattel has been commenced, the defendants
        served, whether they are in default, and, if they have appeared, where papers may
        be served upon them;

        4. the value of each chattel or class of chattels claimed, or the aggregate value of
        all chattels claimed;

        5. if the plaintiff seeks the inclusion in the order of seizure of a provision
        authorizing the sheriff to break open, enter and search for the chattel, the place
        where the chattel is located and facts sufficient to establish probable cause to
        believe that the chattel is located at that place;

        6. that no defense to the claim is known to the plaintiff; and

        7. if the plaintiff seeks an order of seizure without notice, facts sufficient to
        establish that unless such order is granted without notice, it is probable the chattel
        will become unavailable for seizure by reason of being transferred, concealed,
        disposed of, or removed from the state, or will become substantially impaired in
        value.

 CPLR § 7102(d)(1).

        As set forth above, PleasrDAO seeks the seizure of all of Shkreli’s retained copies of the

 Album data and files. PleasrDAO owns Shkreli’s prior interest in the Album, including any copies

 he made of the Album’s data and files. Matkov Decl. ¶¶ 9-10, Accordingly, Shkreli is wrongfully

 withholding PleasrDAO’s data and files. PleasrDAO is not aware of any defenses that Shkreli has

 that would demonstrate his ownership in those data and files.

        Rule 7102(e) requires the movant to provide an undertaking in an amount that is not less

 than at least twice the value of the chattel. CPLR 7102(e). The total current market value of the

 misappropriated data and files is unknown at this time given, inter alia, the uncertainty in how

 many copies Shkreli has made. Accordingly, PleasrDAO proposes that the Court calculate

 security, if necessary, after an accounting and inventory of Shkreli’s unlawful retention and

 dissemination has been undertaken.




                                                - 25 -
Case 1:24-cv-04126-PKC-MMH Document 4 Filed 06/10/24 Page 32 of 32 PageID #: 56



                                 IV.        CONCLUSION
        For these reasons, the Court should issue a temporary restraining order and preliminary

 injunction to prevent Shkreli from continuing to possess and cause further damage to PleasrDAO’s

 interests in the Album, grant an inventory and accounting, issue a civil seizure order, award

 monetary damages, and grant such other and further relief the court deems just and proper.



 Dated: June 10, 2024                        Respectfully Submitted,

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                                              - 26 -
